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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                             CENTRAL DIVISION at LEXINGTON


CRIMINAL ACTION NO. 10-cr-78-KSF


UNITED STATES OF AMERICA                                                                PLAINTIFF


vs.                                  OPINION AND ORDER


TROY LAMONT CRUTCHER                                                                 DEFENDANT

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       This matter is before the Court on the July 9, 2013 Recommendation of Magistrate Judge

J. Gregory Wehrman [DE 636] regarding Defendant Troy Lamont Crutcher’s modification of

conditions of release. The parties waived the fourteen-day objection period and requested prompt

review by this Court.

       “It does not appear that Congress intended to require district court review of a magistrate’s

factual or legal conclusions, under a de novo or any other standard, when neither party objects to

those findings.” Thomas v. Arn, 474 U.S. 140, 150 (1985). Moreover, a party who fails to file

objections to a Magistrate Judge’s recommendation waives the right to appeal. See Wright v.

Holbrook, 794 F.2d 1152, 1154-55 (6th Cir. 1986). Having examined the record, the Court is in

agreement with the Magistrate Judge’s Recommendation.

       Accordingly, it is hereby ORDERED that the Magistrate Judge’s Recommendation [DE 636]

is ADOPTED and INCORPORATED by reference.

       This July 15, 2013.
